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   14
        Attorneys for Defendants
   15
   16                      UNITED STATES DISTRICT COURT
   17                    CENTRAL DISTRICT OF CALIFORNIA
   18
   19   ATEN TECHNOLOGY, CO. LTD.           No. 2:15-cv-04424-AJG-AJW
   20
                            Plaintiff,      DEFENDANTS’ EX PARTE
   21
                                            APPLICATION TO BRING
   22       vs.                             EQUIPMENT INTO COURTROOM
   23                                       FOR USE DURING TRIAL
        UNICLASS TECHNOLOGY CO.,
   24   LTD., et al.                        Judge: Hon. Andrew J. Guilford
   25                                       Trial Date: September 19, 2017
                     Defendants.
                                            Courtroom: 10D
   26
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        _________________________________________________________________
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    1
    2   Defendants respectfully move the Court for entry of an order permitting counsel
    3   and supporting staff to bring into Court certain hard copies of evidence,
    4   equipment, and devices for use during the trial scheduled for September 19, 2017
    5   through September 28, 2017.
    6
    7   In support of this motion, Defendants state:
    8
    9   1. Defendants note that they saw Plaintiff’s similar Ex Parte Motion [Dkt. No.
   10   416] today for the first time when it was filed, and in the future would expect that
   11   the parties will meet and confer on all trial motions so that whenever possible,

   12   joint filings may be made to conserve judicial and party resources.

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   14   2. Defendants intend to make presentations at the trial that rely on the use of
        computer technology and other electronic equipment. To accomplish this,
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        Defendants will require various computer equipment, including samples of the
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        accused products and specific computer equipment that can function with those
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        products for demonstrative purposes.
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        3. Defendants also need to bring exhibit binders to the courtroom for reference
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        during trial. Defendants understand that these items will be subject to
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        examination for security purposes as are all other materials brought into the
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        courthouse.
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        4. Defendants’ counsel and possibly their technical expert will bring exhibit
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        binders to the courtroom and would like to have access to the Court’s loading
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        dock at or before 3:30 p.m. on Monday, September 18, 2017. Defendants will
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        confirmed the delivery time with the courtroom deputy.
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    1   Dated: September 13, 2017         Respectfully submitted,
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    3                                     /s/ Joseph G. Pia
    4                                     Robert E. Aycock
                                          Joseph G. Pia
    5                                     Jen-Feng “Jeff” Lee
    6                                     Attorney for Defendants
                                          UNICLASS TECHNOLOGY CO., LTD.,
    7
                                          ELECTRONIC TECHNOLOGY CO.,
    8                                     LTD. OF DONGGUAN UNICLASS,
    9                                     AIRLINK 101, PHOEBE MICRO INC.,
                                          BROADTECH INTERNATIONAL CO.,
   10                                     LTD. D/B/A/ LINKSKEY, BLACK BOX
   11                                     CORPORATION, and BLACK BOX
                                          CORPORATION OF PENNSYLVANIA
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    3                         CERTIFICATE OF SERVICE
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    5         The undersigned hereby certifies that a true and correct copy of the
    6   above and foregoing document has been served on September 13, 2017 to all
    7   counsel of record who are deemed to have consented to electronic service via
    8   the Court’s CM/ECF system per Local Rule CV-5(a)(3).
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   10                                         /s/Joseph G. Pia
   11                                         Joseph G. Pia
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